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    1   Kristin Zilberstein, Esq., (SBN 20041)
        Jennifer R. Bergh, Esq., (SBN 305219)
    2   LAW OFFICES OF MICHELLE GHIDOTTI
    3   1920 Old Tustin Ave.
        Santa Ana, CA 92705
    4   Tel: (949) 427-2010
        Fax: (949) 427-2732
    5
    6   Attorneys for Creditor U.S. Bank Trust National
        Association, as Trustee of the SCIG Series III Trust, its successors and assigns
    7
    8                            UNITED STATES BANKRUPTCY COURT

    9               SOUTHERN DISTRICT OF CALIFORNIA – SAN DIEGO DIVISION

   10
        In Re:                                              )   CASE NO.: 13-06908-MM13
   11                                                       )
        Jose A. Perales                                     )   CHAPTER 13
   12          Debtor.                                      )
   13                                                       )   REF.: MRG-1
                                                            )
   14                                                       )   CREDITOR’S REPLY TO NOTICE
                                                            )   OF INTENT TO RECONSIDER
   15
                                                            )   AND REALLOW PROOF OF
   16                                                       )   CLAIM
                                                            )
   17                                                       )
                                                            )   Honorable Margaret M. Mann
   18
                                                            )
   19                                                       )
                                                            )
   20                                                       )
   21
                 The Reply of U.S. Bank Trust NationalAssociation, as Trustee of the SCIG Series III
   22
        Trust, (“Movant”) respectfully shows as follows:
   23
                  1. On November 12, 2013, Claim Number Six (6) was filed by Creditor’s
   24
        predecessor in interest asserting arrears in the amount of $21,313.26. Claim Number Six (6)
   25
        was amended to include arrears in the amount of $20,680.36 on July 30, 2014.
   26
                  2. On June 8, 2018 Trustee filed a Notice of Intent to Reconsider and Reallow
   27
        Proof of Claim, reducing Creditor’s Claim to $16,654.13.
   28
                  3. Secured Creditor does not agree that Creditor’s Claim should be reduced to

                                                       1
                              MOTION FOR RELIEF FROM THE AUTOMATIC STAY
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    1   $16,654.13.
    2              4. The balance remaining to cure Creditor’s Pre-Petition arrears includes
    3   $1,736.93. Please see Creditor’s Response to Notice of Final Cure signed by Michael J. Egan
    4   of SN Servicing Corporation, filed on July 9, 2018. See attached as Exhibit “A”.
    5              5. The balance includes:
    6                                      Pre-Petition Arrears Default
    7           Arrearage Principle                          $588.97
    8           Arrearage Interest                           $694.81
    9           Arrearage Escrow                             $453.15
   10           Total Pre-Petition Default                   $1,736.93
   11
   12              6. As such, Creditor does not agree that the pre-petition arrears are paid in full as
   13   stated on the Notice of Intent to Reconsider and Reallow Proof of Claim filed on June 8,
   14   2018.
   15   Dated: July 9, 2018
   16                                                  /s/ Kristin Zilberstein, Esq.,
                                                       Kristin Zilberstein, Esq.,
   17
                                                       Attorney for Movant U.S. Bank Trust National
   18                                                  Association, as Trustee of the SCIG Series III
                                                       Trust
   19
   20
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                                                         2
                               MOTION FOR RELIEF FROM THE AUTOMATIC STAY
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                                                                  6
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       SN                     SERVICING CORPORATION
                                                  323 FIFTH STREET (95501)
                                                            P.O. BOX 35
                                                         EUREKA, CA 95502
                                                           (800) 603-0836


June 26, 2018

JOSE PERALES
1648 CURRY COMB DR
SAN MARCOS, CA 92069
Your Reference:

Re:
         JOSE PERALES
         1648 CURRY COMB DRIVE
         SAN MARCOS, CA 92069

Pay off figures for the above referenced loan/borrower are:

         Projected Payoff Date                                     07/10/2018

         Principal Balance                                         $213,802.35
         Interest to 07/10/2018                                       $ 941.68
         Other (See Attached Detail)                                 $1,736.93
         Prepayment Penalty                                              $0.00
         Funds owed by Borrower                                          $0.00
         Funds owed to Borrower                                          $0.00
         Total Payoff                                              $216,480.96
         Per diem                                                      $ 24.32

The next payment due is 07/01/2018. The current interest rate is    4.05666 % and the P&I payment is $1,283.78.

PAY OFF INSTRUCTIONS/INFORMATION:
    • Pay off figures are subject to change so please call 800-603-0836 to update these figures prior to remitting funds.
    • Funds received after 12:00 noon will be processed on the next business day and interest will be charged through that
      date.
    • All pay off figures are subject to clearance of funds in transit. The pay off is subject to final audit when presented.
    • Please provide the borrower’s forwarding address so any overpayment or refund can be directly mailed to the borrower.
    • We will prepare the release of our interest in the property after all funds have cleared.

REMITTANCE INFORMATION:

Make checks payable to:          SCIG Series III Trust

Mailing Address:                                                Express/Overnight Mail Address:

        SN Servicing Corporation                                              Bank of Texas
        SCIG Series III Trust                                                 c/o Remittance Services, Dept 41548
        PO BOX 660820                                                         2250 W State Hwy 114
        DALLAS, TX 75266-0820                                                 Grapevine, TX 76051

Wiring Instructions:

SCIG Series III Trust, Bank of Texas, ACCT #8095283520, ABA #111014325
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  Case 13-06908-MM13                           Filed 07/09/18                     Entered 07/09/18 15:27:52                                    Doc 68   Pg. 8 of 10



    323 Fifth Street, P O Box 35, Eureka, CA 95501




                                REINSTATEMENT LETTER

    To:             Mike Egon                                                                         From:                       Payoff Department
                                                                                                      Pages:
    Fax:                                                                                              Date:                            06/26/18
    Re:                        - Perales                                                              CC:



                    Good to 07/10/18

                    ARREARAGE PRINCIPAL                                                                                                        588.97
                    ARREARAGE INTEREST                                                                                                         694.81
                    ARREARAGE ESCROW                                                                                                           453.15

                    REINSTATEMENT TOTAL                                                                                                   $1,736.93




                    The following figures are subject to final verification by the note holder. The mortgagee reserves the right to withhold
                     the issuance of the satisfaction of mortgage until all funds due are received by our office.


PAY OFF INSTRUCTIONS/INFORMATION:
 ● Pay off figures are subject to change so please call 800-603-0836 to update these figures prior to remitting funds.
 ● Funds received after 12:00 noon will be processed on the next business day and interest will be charged through that date.
 ● All pay off figures are subject to clearance of funds in transit. The pay off is subject to final audit when presented.
 ● Please provide the borrower's forwarding address so any overpayment or refund can be directly mailed to the borrower.
 ● We will prepare the release of our interest in the property after all funds have cleared.

REMITTANCE INFORMATION:

Make checks payable to: SCIG Series III Trust

Mailing Address:                                                                                     Express Mail Address:
                    SN Servicing Corporation                                                                            Bank of Texas
                    SCIG Series III Trust                                                                               c/o Remittance Services, Dept 41548
                    PO BOX 660820                                                                                       2250 W State Hwy 114
                    DALLAS, TX 75266-0820                                                                               Grapevine, TX 76051


Wiring Instructions: SCIG Series III Trust, Bank of Texas ACCT #8095283520 ABA #111014325
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1    Michelle R. Ghidotti-Gonsalves, Esq. (SBN 232837)
     Kristin A. Zilberstein (SBN 200041)
2    Jennifer R. Bergh, Esq. (SBN 305219)
3    LAW OFFICES OF MICHELLE GHIDOTTI
     1920 Old Tustin Ave.
4    Santa Ana, CA 92705
     Ph: (949) 427-2010
5    Fax: (949) 427-2732
6    mghidotti@ghidottilaw.com

7    Authorized Agent for Creditor
     U.S. Bank Trust National Association, et al.
8
9
                               UNITED STATES BANKRUPTCY COURT
10
                  SOUTHERN DISTRICT OF CALIFORNIA – SAN DIEGO DIVISION
11
12   In Re:                                               )   CASE NO.: 13-06908-MM13
                                                          )
13   Jose A. Perales,                                     )   CHAPTER 13
                                                          )
14
              Debtors.                                    )   CERTIFICATE OF SERVICE
15                                                        )
                                                          )
16                                                        )
                                                          )
17
                                                          )
18                                                        )
                                                          )
19                                                        )
20
21                                    CERTIFICATE OF SERVICE
22
              I am employed in the County of Orange, State of California. I am over the age of
23
24   eighteen and not a party to the within action. My business address is: 1920 Old Tustin Ave.,

25   Santa Ana, CA 92705.
26            I am readily familiar with the business’s practice for collection and processing of
27
     correspondence for mailing with the United States Postal Service; such correspondence would
28
     be deposited with the United States Postal Service the same day of deposit in the ordinary

     course of business.
                                                      1
                                       CERTIFICATE OF SERVICE
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                                                 10


1    On July 9, 2018 I served the following documents described as:
2                  RESPONSE TO NOTICE OF FINAL CURE PAYMENT
3
     on the interested parties in this action by placing a true and correct copy thereof in a sealed
4
     envelope addressed as follows:
5
6    (Via United States Mail)
     Debtor                                              Chapter 13 Trustee
7    Jose A. Perales                                     David L. Skelton
     1648 Curry Comb Drive                               525 B St., Suite 1430
8
     San Marcos, CA 92069                                San Diego, CA 92101-4507
9
     Debtor’s Counsel                                    U.S. Trustee
10   John C. Colwell                                     United States Trustee
11   Law Offices of John C. Colwell, a PLC               Office of the U.S. Trustee
     121 Broadway                                        880 Front Street
12   Ste. 533                                            Suite 3230
     San Diego, CA 92101                                 San Diego, CA 92101
13
14   _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
     the United States Postal Service by placing them for collection and mailing on that date
15   following ordinary business practices.
16   ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
17   Eastern District of California

18   __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
     America that the foregoing is true and correct.
19
20          Executed on July 9, 2018 at Santa Ana, California

21   /s / Lora Amundson
     Lora Amundson
22
23
24
25
26
27
28



                                                     2
                                      CERTIFICATE OF SERVICE
